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UNITED STATES DLITRICT COURT
WESTERN DESTRICT OF WIS@NSDV
“Troy G, Hammer,

Planb hy,
VU. Case No, 2O-CU-202

Christopher bertz, efal,,
Detendarts,

 

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AND OPTECTRNS

 

Plaintiff Troy Hamme, proceed ing pr Fe, hereby moteg ts
Honorable Cour + pur yuan T bo Ruler) 2(b) and YG , fed R Cv. Pe,
for epeespddeteducin of Plain bi Ff 5 Motion for on Onder (Okt, 57)
and Object to Jad ge Crocker s order Okt, Go). La suppor T st
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Decl. $11.)

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